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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                               NEW ALBANY DIVISION

MARY RODGERS-ROUZIER, on behalf                 )
of herself and all others similarly situated,   )
                                                )
                        Plaintiff,              )
                                                )       Case No. 4:20-CV-4
v.                                              )
                                                )
AMERICAN QUEEN STEAMBOAT                        )
OPERATING COMPANY, LLC,                         )
                                                )
                                                )
                        Defendant.              )
                                                )

                             COMPLAINT – Demand for Jury Trial

        Plaintiff Mary Rodgers-Rouzier, on behalf of herself and all others similarly situated,

known and unknown, for her Complaint against Defendant American Queen Steamboat

Operating Company, LLC (“American Queen” or “Defendant”), states as follows:

NATURE OF PLAINTIFF’S CLAIMS

        1.      Plaintiff’s claims against Defendant arise under the Fair Labor Standards Act

(“FLSA”), 29 U.S.C. §201, et seq., for Defendant’s failure to pay overtime wages to Plaintiff and

other persons Defendant employs as bartenders, bar servers and bar staff, waiters, cooks and

other kitchen employees, laundry attendants, and housekeepers (collectively referred to herein as

“Service Employees”) for the time they worked in excess of forty hours in one or more

individual work weeks.

THE PARTIES

        2.      Plaintiff is currently employed by Defendant as a bartender. She has worked for

Defendant as a bartender since February 2015.



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       3.        Plaintiff resides in and is domiciled in Memphis, Tennessee.

       4.        Defendant operates a cruise line with multiple American vessels operating river

cruises along the Mississippi River, Tennessee River, Ohio River, and Columbia River in the

United States.

       5.        Defendant is an Indiana corporation with its principal place of business located in

New Albany, Indiana, within this judicial district.

       6.        At all times relevant hereto, Plaintiff was Defendant’s “employee,” as that term is

defined by the FLSA, 29 U.S.C. § 203(d).

       7.        Defendant American Queen was Plaintiff’s “employer” as defined in the FLSA,

29 U.S.C. § 203(d).

       8.        Defendant American Queen is an “enterprise” as defined by the FLSA, 29 U.S.C.

§ 203(r)(1), and is an enterprise engaged in commerce or in the production of goods for

commerce within the meaning of the FLSA. 29 U.S.C. § 203(s)(1).

       9.        Defendant American Queen’s annual gross volume of sales made exceeds

$500,000, exclusive of excise taxes, in each of the last three calendar years.

       10.       American Queen has operated in excess of seven months a year in each of the last

three calendar years. Specifically, one or more American Queen vessels have offered river

cruises year-round during the prior three years.

       11.       In 2017, Defendant’s average receipts for any six months exceeded 33.33% (1/3)

of the gross receipts for the other six months.

       12.       In 2018, Defendant’s average receipts for any six months exceeded 33.33% (1/3)

of the gross receipts for the other six months.




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       13.      In 2019, Defendant’s average receipts for any six months exceeded 33.33% (1/3)

of the gross receipts for the other six months.

JURISDICTION AND VENUE

       14.     This Court has jurisdiction over Plaintiff’s FLSA claims, which arises under 29

U.S.C. § 216(b), pursuant to 28 U.S.C. § 1331.

       15.     This Court has general jurisdiction over all claims against Defendant, as the

company is headquartered in New Albany, Indiana, within this judicial district.

       16.     Venue is proper in this judicial district because Defendant is located in New

Albany, Indiana.

BACKGROUND FACTS

       17.     As a bartender, Plaintiff works a tour of six weeks on and then two weeks off on

one of Defendant’s vessels.

       18.     During each six-week tour, Plaintiff works for Defendant seven days a week, and

on average 12 hours or more per day, or 84 or more hours or week per week.

       19.     During her six-week work periods, Plaintiff receives no scheduled off days.

       20.     Defendant pays Plaintiff a day rate of $52 for the work she performs for

Defendant while on tour.

       21.     Defendant assesses a service charge of $16.95/day for each guest (who does not

opt-out) and pays Plaintiff and other Service Employees a percentage of the service charge.

       22.     Defendant did not pay Plaintiff overtime wages for the hours she worked over 40

in each individual work week.

       23.     Plaintiff’s primary job duty as a bartender is to prepare and serve drinks to guests,

and to maintain a clean and fully stocked bar area.



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       24.     Plaintiff is responsible for knowing Defendant’s bar menu, drink recipes, and

serving procedures.

       25.     Plaintiff’s opening bar duties includes wiping down the bar area, stocking and

displaying spirits, and securing garnishes for drinks.

       26.     Plaintiff’s closing bar duties includes mopping in front of and behind the bar,

wiping down tables and the bar, and properly storing and securing spirits.

       27.     Plaintiff’s job duties as a bartender for Defendant are essentially the same as a

bartender who works in a bar or restaurant not located on Defendant’s vessel.

       28.     Plaintiff is not responsible for moving goods from the dock to the vessel.

       29.     Plaintiff is not responsible for bringing luggage or equipment onto the vessel.

       30.     Plaintiff is not responsible for the maintenance, upkeep, or safety of any

equipment related to the ship’s operations as a vessel.

       31.     Plaintiff provides no navigational support to the vessel.

       32.     Plaintiff provides no engineering support to the vessel.

       33.     Plaintiff is not responsible for docking the vessel.

       34.     Plaintiff provides no safety related services to guests.

       35.     Plaintiff is not permitted to enter the vessel’s engine rooms or other operational

areas, like the bridge, without prior express permission.

       36.     Plaintiff is not required to obtain a Transportation Worker Identification

Credential (TWIC) as required by the U.S. Coast guard for all workers needing to access secure

areas of maritime facilities and vessels.

       37.     Plaintiff reports to the bar manager, and at no time has reported to or been

supervised by the captain of Defendant’s vessel.



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        38.    Defendant classified Plaintiff as exempt from the overtime compensation

requirements of the FLSA.

        39.    Plaintiff was not and is not exempt from the overtime provisions of the FLSA.

COLLECTIVE CLASS ALLEGATIONS

        40.     Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein

        41.    Plaintiff brings this action on behalf of herself and other similarly situated persons

defined as: all current and former Service Employees employed by Defendant in the prior three

years who were paid a day rate. Plaintiff’s Consent Form in this collective action is attached hereto

as Exhibit A

        42.    Defendant pays bartenders a day rate for their work aboard its vessels.

        43.    Defendant does not pay bartenders overtime pay when they work in excess of forty

hours in one or more individual work weeks.

        44.    Defendant pays bar servers and bar staff a day rate for their work aboard its vessels.

        45.    Defendant does not pay bar servers and bar staff overtime pay when they work in

excess of forty hours in one or more individual work weeks.

        46.    Defendant pays waiters a day rate for their work aboard its vessels.

        47.    Defendant does not waiters overtime pay when they work in excess of forty hours

in one or more individual work weeks.

        48.    Defendant pays cooks and other kitchen employees a day rate for their work aboard

its vessels.

        49.    Defendant does not pay cooks and other kitchen employees overtime pay when they

work in excess of forty hours in one or more individual work weeks.

        50.    Defendant pays laundry attendants a day rate for their work aboard its vessels.



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       51.     Defendant does not pay laundry attendants overtime pay when they work in excess

of forty hours in one or more individual work weeks.

       52.     Defendant pays housekeepers a day rate for their work aboard its vessels.

       53.     Defendant does not pay housekeepers overtime pay when they work in excess of

forty hours in one or more individual work weeks.

       54.     Service Employees are similarly situated in that they are all subject to American

Queen’s common plan or practice of paying them a day rate for all time worked in individual work

weeks, and not paying them overtime pay at the rate of one and one half times their regular rate

for all time they worked in one or more individual work weeks.

       55.     Service Employees are not responsible for moving goods from the dock to the

vessels.

       56.     Service Employees are not responsible for bringing luggage or equipment onto

the vessels.

       57.     Service Employees are not responsible for the maintenance, upkeep, or safety of

any equipment related to the ships’ operations as vessels.

       58.     Service Employees provide no navigational support to the vessels.

       59.     Service Employees provide no engineering support to the vessels.

       60.     Service Employees are not responsible for docking the vessels.

       61.     Service Employees do not provide safety related services to guests.

       62.     Service Employees are not permitted to enter the vessels’ engine rooms or other

operational areas, like the bridge, without prior express permission.




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        63.    Service Employees are not required to obtain a Transportation Worker

Identification Credential (TWIC) as required by the U.S. Coast guard for all workers needing to

access secure areas of maritime facilities and vessels.

        64.    Service Employees do not directly report to and are not supervised by the captains

of Defendant’s vessels.

        65.    In one or more individual work weeks during the prior three years, Service

Employees were required to work more than forty hours for Defendant.

        66.    In one or more individual work weeks during the prior three years, Defendant did

not pay Service Employees overtime wages for the time they worked in excess of forty hours.

        67.    Defendant classified Service Employees as exempt from the overtime

compensation requirements of the FLSA.

        68.    Service Employees were not and are not exempt from the overtime provisions of

the FLSA.

                                          COUNT I
                Violation of the Fair Labor Standards Act – Overtime Wages

        Plaintiff hereby realleges and incorporates the proceeding paragraphs this Complaint.

        69.    Plaintiff was entitled to be paid overtime wages at the rate of one and one-half

times her regular rate of pay for the time she worked for Defendant in excess of forty hours per

week.

        70.    Defendant did not pay Plaintiff overtime wages at the rate of one and one-half

times her regular rate of pay for the time she worked in excess of forty (40) hours per week.

        71.    Service Employees were entitled to be paid overtime wages at the rate of one and

one-half times their regular rate of pay for the time they worked in excess of forty hours per

week.

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        72.    Defendant did not pay Service Employees overtime wages at the rate of one and

one-half times their regular rate of pay for the time they worked in excess of forty (40) hours per

week.

        73.    Defendant’s failure to pay Plaintiff overtime wages at a rate of one and half times

her regular rate of pay for the time she worked in excess of forty hours in individual work weeks

violated § 207 of the FLSA.

        74.    Defendant’s failure to pay Service Employees overtime wages at a rate of one and

half times their regular rate of pay for the time they worked in excess of forty hours in individual

work weeks violated § 207 of the FLSA.

        75.    Defendant willfully violated the FLSA by failing to pay Plaintiff and Service

Employees overtime wages for the time they worked in excess of forty hours per week.

        76.    Plaintiff and other Service Employees are entitled to recover their unpaid

overtime wages for the period three years prior to the filing of this suit.

        WHEREFORE, Plaintiff and other similarly situated Service Employees pray for judgment

against Defendant as follows:

        A.     A judgment in the amount of one-half times the greater of the applicable minimum
               wage or the regular rate at which Plaintiff and similarly situated Service Employees
               were paid for all time they worked in excess of forty hours per week;

        B.     Liquidated damages in an amount equal to the amount of unpaid overtime
               compensation found due;

        C.     Reasonable attorneys’ fees and costs incurred in filing this action; and

        D.     Such other and further relief as this Court deems appropriate and just.




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Dated: January 6, 2020
                                       Respectfully submitted,

                                       Douglas M. Werman
                                       One of the Attorneys for Plaintiff

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